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 3                                                                            FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON

 4
                                                                     Oct 23, 2018
                                                                         SEAN F. MCAVOY, CLERK
 5                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 6

 7    LATALIA PATTERSON, on behalf
      of herself and all others similarly        NO: 2:18-CV-161-RMP
 8    situated,
                                                 ORDER DENYING DEFENDANT’S
 9                             Plaintiff,        MOTION TO DISMISS

10          v.

11    PETERSON ENTERPRISES, INC., a
      Washington collection agency doing
12    business pursuant to UBI No.
      601438603, doing business as Valley
13    Empire Collection,

14                             Defendant.

15

16         BEFORE THE COURT is a Motion to Dismiss under Rule 12(b)(6) filed by

17   Defendant Peterson Enterprises, Inc., doing business as Valley Empire Collection

18   (“Valley Empire”), ECF No. 7. Valley Empire argues that Plaintiff Latalia

19   Patterson’s Class Action Complaint, ECF No. 1, fails to state a FDCPA claim. ECF

20   No. 7. The Court has reviewed the parties’ arguments, the record, the pleadings, and

21   is fully informed.


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 1                                     BACKGROUND

 2         Ms. Patterson alleges the following facts in her complaint. ECF No. 1. She

 3   alleges that her child needed medical care. Id. at 6. Despite possessing two separate

 4   health insurance plans, Ms. Patterson alleges that the child’s medical providers

 5   failed to properly bill Ms. Patterson’s insurance. Id. As a result, Ms. Patterson

 6   alleges that the account went unpaid, Ms. Patterson defaulted, and the medical

 7   provider sent the defaulted account to Valley Empire for collections. Id.

 8         Ms. Patterson claims that Valley Empire reported the unpaid accounts to

 9   major credit reporting agencies and subsequently filed a debt collection lawsuit

10   against Ms. Patterson. ECF No. 1 at 8. Ms. Patterson alleges that she filed and

11   served an answer to Valley Empire’s debt collection lawsuit. Id. at 9. Ms. Patterson

12   argues that serving an answer and asserting cross claims and counterclaims

13   constitutes “disputing” the unpaid accounts. Id. Ms. Patterson alleges that she

14   continued fighting Valley Empire’s debt collection lawsuit by opposing summary

15   judgment. Id.

16         Ms. Patterson alleges that Valley Empire failed to report the medical accounts

17   as disputed after Ms. Patterson’s opposition to the debt collection lawsuit. ECF No.

18   1 at 9. According to Ms. Patterson, Valley Empire’s failure to report the credit

19   accounts as disputed violates the Fair Debt Collection Practices Act (“FDCPA”), 15

20   U.S.C. § 1692 et seq., the Washington Collection Agency Act (“WCAA”), R.C.W. §

21   19.16, and the Washington Consumer Protection Act (“WCPA”), § 19.86 et seq.


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 1   ECF No. 1 at 14–27. She claims that Valley Empire has acted similarly to other

 2   people in Ms. Patterson’s position, and looks to proceed with her case against Valley

 3   Empire as a class action. Id.

 4         Valley Empire filed this present Motion to Dismiss Ms. Patterson’s FDCPA

 5   claim, arguing that Ms. Patterson failed to allege any FDCPA violations within the

 6   one-year statute of limitations. ECF Nos. 7 & 15; 15 U.S.C. § 1692k(d). Ms.

 7   Patterson alleges that Valley Empire’s conduct occurred within the statute of

 8   limitations. ECF No. 12.

 9                                    LEGAL STANDARD

10         A plaintiff’s claim will be dismissed if it fails to state a claim upon which

11   relief can be granted. Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss

12   under Rule 12(b)(6), the plaintiff must plead “enough facts to state a claim to relief

13   that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

14   (2007). A claim is plausible when the plaintiff pleads “factual content that allows

15   the court to draw the reasonable inference that the defendant is liable for the

16   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

17         In ruling on a Rule 12(b)(6) motion to dismiss, a court “accept[s] factual

18   allegations in the complaint as true and construe[s] the pleadings in the light most

19   favorable to the nonmoving party.” Manzarek v. St. Paul Fire & Marine Ins. Co.,

20   519 F.3d 1025, 1031 (9th Cir. 2008). A court is not required, however, to “assume

21   the truth of legal conclusions merely because they are cast in the form of factual


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 1   allegations.” Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir. 2011) (per curiam)

 2   (internal quotation omitted). “[C]onclusory allegations of law and unwarranted

 3   inferences are insufficient to defeat a motion to dismiss.” Adams v. Johnson, 355

 4   F.3d 1179, 1183 (9th Cir. 2004). Additionally, “[n]o greater particularity is

 5   necessary in stating the claim for relief in a class action than in other contexts.” 7B

 6   Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1798

 7   (3d ed.).

 8                                       DISCUSSION

 9   Evidence Outside The Complaint

10         In support of their arguments on this motion to dismiss, the parties submitted

11   multiple declarations and exhibits. See ECF Nos. 8, 9, 12-1, 12-2.

12         As a general rule, a district court hearing a Rule 12(b)(6) motion cannot

13   consider matters outside the pleadings. Fed. R. Civ. P. 12(d). If the court does

14   consider evidence outside the pleadings, the court must convert the motion to a Rule

15   56 motion for summary judgment. Id.; see also United States v. Ritchie, 342 F.3d

16   903, 907 (9th Cir. 2003). The district court has discretion to either accept outside

17   evidence and convert the motion to a motion for summary judgment or exclude

18   outside evidence and treat the motion as a motion to dismiss. Hamilton Materials,

19   Inc. v. Dow Chem. Corp., 494 F.3d 1203, 1206 (9th Cir. 2007).

20         The Court finds that the outside materials submitted in this case are

21   unnecessary for the disposition of this motion. Thus, the Court will exclude, for the


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 1   purposes of this motion, any outside materials submitted with the parties’ briefings,

 2   and will consider solely the allegations in Ms. Patterson’s complaint.

 3   FDCPA Claim

 4         Valley Empire argues that Ms. Patterson has failed to state a claim for relief

 5   under the FDCPA. ECF No. 7.

 6         A plaintiff alleges an FDCPA claim by alleging: (1) the plaintiff is a

 7   consumer; (2) the debt involved meets the definition of debt in the FDCPA; (3) the

 8   defendant is a debt collector; and (4) the defendant committed an act prohibited by

 9   the FDCPA. Turner v. Cook, 362 F.3d 1219, 1227–28 (9th Cir. 2004); Heejon

10   Chung v. U.S. Bank, N.A., 250 F. Supp. 3d 658, 680 (D. Haw. 2017).

11         The first element of an FDCPA claim is that the plaintiff is a consumer.

12   Heejon Chung, 250 F. Supp. 3d at 680. A consumer is a person obligated or

13   allegedly obligated to pay a debt. 15 U.S.C. § 1692a(3). Here, Ms. Patterson has

14   alleged that she is a consumer because she was allegedly obligated to pay a debt for

15   her daughter’s medical care. ECF No. 1 at 8. Thus, Ms. Patterson has alleged the

16   first element of an FDCPA claim.

17         The second element of an FDCPA claim is that the debt involved meets the

18   definition of debt in the FDCPA. Heejon Chung, 250 F. Supp. 3d at 680. A debt is

19   an obligation or alleged obligation to pay money from a transaction that is primarily

20   for personal, family, or household purposes. Id. § 1692a(5). Here, Ms. Patterson’s

21   alleged debt resulted from medical services provided to her daughter. ECF No. 1 at


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 1   8. Medical services for her daughter qualifies as a family purpose. Thus, Ms.

 2   Patterson has alleged the second element of an FDCPA claim.

 3         The third element of an FDCPA claim is that the defendant is a debt collector.

 4   Heejon Chung, 250 F. Supp. 3d at 680. A debt collector is a person who uses an

 5   instrumentality of interstate commerce to engage in a business in which the principal

 6   purpose is the collection of debts, or regularly attempts to collect debts owed or due

 7   to another. Id. § 1692a(6). Ms. Patterson alleges in her complaint that Valley

 8   Empire regularly engages in the practice of debt collection. ECF No. 1 at 10.

 9   Therefore, Ms. Patterson has alleged the third element of an FDCPA claim.

10         The fourth and final element of an FDCPA claim is that the defendant

11   committed an act prohibited by the FDCPA. Heejon Chung, 250 F. Supp. 3d at 680.

12   Among the many ways a debt collector can violate the FDCPA is with false or

13   misleading representations in connection with the collection of a debt. 15 U.S.C. §

14   1692e. A false or misleading representation includes communicating credit

15   information which is known to be false, “including the failure to communicate that a

16   disputed debt is disputed.” 15 U.S.C. § 1692e(8). While the FDCPA does not

17   define “dispute,” courts have interpreted the word “dispute” in section 1692e(8) to

18   mean “to call into question or cast doubt upon.” See Evans v. Portfolio Recovery

19   Assocs., LLC, 889 F.3d 337, 346–48 (7th Cir. 2018). Additionally, for a debt

20   collector to violate selection 1692e, the allegedly false or misleading statement must

21   be material, in that the least sophisticated debtor would be misled by the


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 1   communication. See Donohue v. Quick Collect, Inc., 592 F.3d 1027, 1033 (9th Cir.

 2   2010).

 3         Ms. Patterson alleges that Valley Empire failed to report Ms. Patterson’s

 4   dispute of the amount due on the medical account to credit reporting agencies in

 5   violation of section 1692e(8). ECF No. 1 at 9. She alleges to have disputed the

 6   account by denying liability on the account in her answer to Valley Empire’s debt

 7   collection lawsuit and her opposition to Valley Empire’s summary judgment motion.

 8   Id. Therefore, Ms. Patterson has alleged that she disputed the credit account, and

 9   that Valley Empire failed to tell credit reporting agencies that the account was

10   disputed.

11         The remaining question is whether Valley Empire’s failure to communicate

12   with credit reporting agencies is material. While the Ninth Circuit has defined

13   materiality as likely to mislead an unsophisticated debtor, the Ninth Circuit has not

14   addressed the meaning of materiality in relation to the debt collector’s failure to

15   communicate the disputed status of an account with credit reporting agencies. Other

16   appellate courts, however, have reached the issue. The Eighth Circuit reasoned that

17   “if a debt collector elects to communicate ‘credit information’ about a consumer, it

18   must not omit a piece of information that is always material, namely, that the

19   consumer has disputed a particular debt.” Wilhelm v. Credico, Inc., 519 F.3d 416

20   (8th Cir. 2008) (emphasis in original). Further, the Seventh Circuit found the failure

21   to report the disputed status of an account to credit reporting agencies was material,


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 1   because “the failure to inform a credit reporting agency that the debtor disputed his

 2   or her debt will always have influence on the debtor, as this information will be used

 3   to determine the debtor’s credit score.” Evans, 889 F.3d at 349 (emphasis in

 4   original).

 5         Here, Ms. Patterson alleges that Valley Empire elected to report the unpaid

 6   medical accounts to credit reporting agencies. ECF No. 1 at 8. Because Valley

 7   Empire elected to report the medical account, if Valley Empire did not disclose that

 8   the account was disputed, that failure to disclose would be material. Ms. Patterson’s

 9   complaint therefore alleges that Valley Empire failed to report the credit account as

10   disputed, and that such a failure would be material under section 1692e. Thus, Ms.

11   Patterson’s complaint sufficiently states a FDCPA claim.

12   Statute of Limitations

13         Valley Empire argues that Ms. Patterson’s claims fall outside of the FDCPA’s

14   statute of limitations. ECF No. 7. The FDCPA has a one-year statute of limitations.

15   15 U.S.C. § 1692k(d). However, twice in Ms. Patterson’s complaint she alleges that

16   Valley Empire’s unlawful conduct occurred within the previous 12 months. ECF

17   No. 1 at 15, 18. Thus, Ms. Patterson has alleged conduct by Valley Empire within

18   the FDCPA’s statute of limitations.

19         Ms. Patterson’s complaint has alleged a claim for relief under the FDCPA

20   within the statute of limitations. Thus, the Court denies Valley Empire’s motion to

21   dismiss.


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 1         Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion to

 2   Dismiss, ECF No. 7, is DENIED.

 3         IT IS SO ORDERED. The District Court Clerk is directed to enter this

 4   Order and provide copies to counsel.

 5         DATED October 23, 2018.

 6
                                               s/ Rosanna Malouf Peterson
 7                                          ROSANNA MALOUF PETERSON
                                               United States District Judge
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